    Case 11-61694-jms         Doc 12 Filed 04/13/12 Entered 04/13/12 16:02:23                    Desc Ch7/11
                                  Order of Discharge (ind Page 1 of 2
                        UNITED STATES BANKRUPTCY COURT
                                        Eastern District of Kentucky
                                              London Division
                                Mailing Address: P.O. Box 1111, Lexington, KY 40588−1111

In Re: Donald Ray Halcomb                                   {
       Connie Sue Halcomb                                   { Case Number: 11−61694−jms
       9390 W Highway 80                                    {
       Nancy, KY 42544                                      {
       9390 W Highway 80                                    { Chapter: 7
       Nancy, KY 42544                                      {
                                                            {
 aka/dba:                                                   {
                                                            {
 SSN/TID: xxx−xx−6816                                       {
          xxx−xx−2035                                       {


Debtor(s)




                        DISCHARGE OF DEBTOR IN A CHAPTER 7 CASE

       It appearing that the debtor is entitled to a discharge, IT IS ORDERED the debtor is granted a discharge under
section 727 of title 11, United States Code, (The Bankruptcy Code).




                                                            By the court −

Dated: 4/13/12
                                                            /s/Joseph M. Scott Jr.
                                                            Joseph M. Scott Jr.
                                                            U.S. Bankruptcy Judge



                  SEE THE BACK OF THIS ORDER FOR IMPORTANT INFORMATION.
    Case 11-61694-jms              Doc 12 Filed 04/13/12 Entered 04/13/12 16:02:23                    Desc Ch7/11
                                       Order of Discharge (ind Page 2 of 2
B18 (Official Form 18) (12/07) continued


                                   EXPLANATION OF BANKRUPTCY DISCHARGE
                                            IN A CHAPTER 7 CASE

      This court order grants a discharge to the person named as the debtor. It is not a dismissal of the case and it
does not determine how much money, if any, the trustee will pay to creditors.

Collection of Discharged Debts Prohibited

      The discharge prohibits any attempt to collect from the debtor a debt that has been discharged. For example, a
creditor is not permitted to contact a debtor by mail, phone, or otherwise, to file or continue a lawsuit, to attach wages
or other property, or to take any other action to collect a discharged debt from the debtor. A creditor who violates this
order can be required to pay damages and attorney's fees to the debtor.

      However, a creditor may have the right to enforce a valid lien, such as a mortgage or security interest, against
the debtor's property after the bankruptcy, if that lien was not avoided or eliminated in the bankruptcy case. Also, a
debtor may voluntarily pay any debt that has been discharged.

Debts That are Discharged

       The chapter 7 discharge order eliminates a debtor's legal obligation to pay a debt that is discharged. Most, but
not all, types of debts are discharged if the debt existed on the date the bankruptcy case was filed. (If this case was
begun under a different chapter of the Bankruptcy Code and converted to chapter 7, the discharge applies to debts
owed when the bankruptcy case was converted.)

Debts that are Not Discharged.

       Some of the common types of debts which are not discharged in a chapter 7 bankruptcy case are:

       a. Debts for most taxes;

       b. Debts incurred to pay nondischargeable taxes (applies to cases filed on or after October 17, 2005);

       c. Debts that are domestic support obligations;

       d. Debts for most student loans;

       e. Debts for most fines, penalties, forfeitures, or criminal restitution obligations;

       f. Debts for personal injuries or death caused by the debtor's operation of a motor vehicle, vessel, or aircraft
       while intoxicated;

       g. Some debts which were not properly listed by the debtor;

       h. Debts that the bankruptcy court specifically has decided or will decide in this bankruptcy case are not
       discharged;

       i. Debts for which the debtor has given up the discharge protections by signing a reaffirmation agreement in
       compliance with the Bankruptcy Code requirements for reaffirmation of debts; and

       j. Debts owed to certain pension, profit sharing, stock bonus, other retirement plans, or to the Thrift Savings
       Plan for federal employees for certain types of loans from these plans (applies to cases filed on or after October
       17, 2005).



       This information is only a general summary of the bankruptcy discharge. There are exceptions to these
general rules. Because the law is complicated, you may want to consult an attorney to determine the exact
effect of the discharge in this case.
